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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


United States of America,                                        Case No. 3:10CR464
                                                                       and 3:11cr188
                        Plaintiff

        v.                                                       ORDER

Roy D. Calhoun, et al.,

                        Defendants



        These are criminal cases in which Velda Travis is a defendant. She has filed similar motions

in each case seeking relief from allegedly prejudicial joinder. [‘464 Doc. 65; ‘188 Doc. 41]. The

gravamen of each motion is substantially the same. For the reasons that follow, the motions shall

be denied.1

        In case ‘464 Ms. Travis is one of six defendants whom the grand jury originally charged with

conspiracy to obstruct justice vis-a-vis a child sex trafficking investigation. In addition to the charges

against her, the grand jury charged other defendants with conspiracy to engage in sex trafficking of

minors, substantive sex trafficking charges and transportation in interstate commerce with the intent

to engage in prostitution.

        At present, only Ms. Travis and codefendant Roy Calhoun are to stand trial. The government

expects to call some of the former co-defendants as witnesses as to both the sex trafficking and

obstruction of justice counts. Although Ms. Travis is charged only in the obstruction count, there


        1
         On December 16, 2011, I notified counsel for the government and Ms. Travis that I was
overruling the motions for relief from joinder. This order states my reasons for doing so.
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is a nexus between the acts alleged against her and the underlying charges against Mr. Calhoun:

namely, the sex trafficking investigation which she allegedly sought to obstruct was the investigation

which resulted in the pending charges against Mr. Calhoun.

       In addition to this nexus, which alone justifies overruling the motion for separate trials, the

government represents that the same witnesses will testify about Calhoun’s activities relating to sex

trafficking of minors and Ms. Travis’s efforts to impede the investigation thereof. It thus makes

sense to try these defendants and charges in one, rather than two proceedings.

       There is, to be sure, a risk of prejudice to Ms. Travis, given the grave nature of the

substantive sex trafficking charges against her codefendant. I am confident, however, that through

voir dire before trial and cautionary instructions during and at the conclusion of the trial that I can

avoid actual prejudice to her.2

       In case ‘188 Ms. Travis is charged in a narcotics conspiracy. Here, again, the only remaining

defendant is Mr. Calhoun. By prior order I have severed the trial of these charges from the sex

trafficking and related charges.

       There is even less reason to grant a separate trial to Ms. Travis in this case than in the ‘464

case. While I may have all members of the venire present during voir dire, I will implement the other

practices I have mentioned above to minimize the risk of prejudice to Ms. Travis from standing trial

with Mr. Calhoun.



       2
         Voir dire will involve an extensive initial questionnaire, full opportunity for counsel to
inquire directly of each member of the venire, and questioning of each juror in the absence of other
venire persons. In addition, the parties have additional peremptory challenges which they can
exercise. Though some or all of these practices are contrary to how many federal judges conduct voir
dire, they have proven in past cases to result in fair and impartial juries which have proven
themselves able to sort out charges and codefendants.

                                                  2
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       In light of the foregoing, it is hereby

       ORDERED THAT the defendant’s motions of relief from joinder [‘464 Doc. 65; ‘188 Doc.

41] be, and the same hereby are denied.

       So ordered.



                                                     /s/ James G. Carr
                                                     Sr. United States District Judge




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